                Case 2:18-cv-01225-RSM Document 5 Filed 08/22/18 Page 1 of 4




 1

 2

 3

4

 5

6                                    IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 7

8
         CARTER JESNESS, a single man,
9                                                            No. 2:18-cv-1225
                   Plaintiff,
10
                   v.                                        COMPLAINT FOR DAMAGES
11

12       GREGORY LYLE BRIDGES,

13                 Defendants.

14

15
             COMES NOW Plaintiff CARTER JESNESS, and for causes of action against Defendant,
16
     pleads and alleges as follows:
17

18
                                I.       PARTIES AND JURISDICTION
19

20           1.1        Plaintiff CARTER JESNESS is a single man whose date of birth is redacted At

21   all times material hereto, plaintiff was a minor and resided in Boulder, Colorado.

22           1.2        Defendant GREGORY BRIDGES is a single man and at all times material hereto,
23   resided in Seattle, King County, State of Washington,
24
             1.3        Jurisdiction of this court is pursuant to 18 U.S.C.A. §2255 and 18 U.S.C.A. §
25
     2423(b).
26

     COMPLAINT
      -1                                                   Leemon 2505 Second Avenue Suite 610 Seattle, WA 98121
                                                            + Royer    Phone 206 269-1100 Fax 206 269-7424
                                                              PLLC
               Case 2:18-cv-01225-RSM Document 5 Filed 08/22/18 Page 2 of 4




 1                                                  II. FACTS

 2           Plaintiff realleges and incorporates by reference each and every allegation set forth in

 3   paragraphs 1.1 through 1.3.
4            2.1     Between December 1, 2012 and June 1, 2015 Defendant resided in Seattle,
 5
     Washington. During this time by use of interstate commerce via cellular phone and the internet
6
     he groomed, persuaded, induced and enticed Plaintiff, who was under the age of 18, to engage
 7
     in sexual activity.
8
             2.2     On or about April 5, 2013, Defendant traveled from Seattle to Colorado for the
9

10   purposes of engaging in and did engage in illicit sexual conduct with Plaintiff which constitutes

11   travel with intent to engage in illicit sexual conduct as defined in Title 18, United States Code,

12   Section 2423(b).

13           2.3     On or about April 26, 2013, Defendant traveled from Seattle to Colorado for the
14   purposes of engaging in and did engage in illicit sexual conduct with Plaintiff which constitutes
15
     travel with intent to engage in illicit sexual conduct as defined in Title 18, United States Code,
16
     Section 2423(b).
17
             2.4     On November 18, 2015 Defendant was charged in the U.S.District Court for the
18
     Western District of Washington by counts 3 and 4 of a superceding indictment in Cause No.
19
     CR15-181MJP with two counts of Travel with Intent to Engage in a Sexual Act with a Minor, in
20

21   violation of 18 U.S.C. § 2423(b) for the acts alleged in ¶¶ 2.2-2.3 above.

22           2.5     On June 15, 2016 Defendant entered pleas of guilty to Counts 3 and 4 pertaining

23   to Plaintiff, as well as to Count 1 relating to possession of child pornography.
24           2.6     On September 1, 2016 a judgment was entered by Hon. Marsha Pechman and
25
     Defendant was sentenced on counts 1,3 and 4.
26

     COMPLAINT
      -2                                                   Leemon 2505 Second Avenue Suite 610 Seattle, WA 98121
                                                            + Royer    Phone 206 269-1100 Fax 206 269-7424
                                                               PLLC
               Case 2:18-cv-01225-RSM Document 5 Filed 08/22/18 Page 3 of 4




 1                      III. LIABILITY AND STATUTORY CAUSE OF ACTION

 2          Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
 3
     paragraphs 1.1 through 2.6, above.
4
            3.1        Pursuant to 18 U.S.C 2255 (a) any person who, while a minor, was a victim of a
 5
     violation of 18 U.S.C 2423, may sue in any appropriate United States District Court and shall
6

 7   recover the actual damages such person sustains and the cost of the suit, including a reasonable

8    attorney’s fee.

9
            3.2        Plaintiff Carter Jesness was a victim and Defendant Bridges the perpetrator of
10
     violations of 18 U.S.C 2423 (b). Defendant Bridges was charged with two counts of said violations,
11
     pleaded guilty to those charges and was sentenced as set out above.
12

13          3.3        Pursuant to the plain language of 18 U.S.C 2255 (a), Defendant is liable to plaintiff

14   for the damages caused to plaintiff by the Defendant’s commission of these crimes against him.

15          IV. DAMAGES
16
            Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
17
     paragraphs 1.1 through 3.3 above.
18
            4.1        As a direct and proximate result of the criminal conduct set out above plaintiff
19

20   suffered past, present and and future harm.

21          4.2        Plaitiff seeks damages for:

22                     A.     Pain and suffering, physical and emotinal, past and future.
23                     B.     Lost earnings past and future
24
                       C.     Lost earning capacity
25
                       D.     Reasonable medical expenses past and future
26

     COMPLAINT
      -3                                                      Leemon 2505 Second Avenue Suite 610 Seattle, WA 98121
                                                               + Royer    Phone 206 269-1100 Fax 206 269-7424
                                                                 PLLC
               Case 2:18-cv-01225-RSM Document 5 Filed 08/22/18 Page 4 of 4




 1                  E.     Loss of enjoyment of life, past and future

 2                  F.     Costs of this litigation

 3                  G.     Reasonable attorney fees
4                                    V.      PRAYER FOR RELIEF
 5
            WHEREFORE, plaintiff prays for judgment against the defendant for damages as set forth
6
     in paragraphs 4A-G above, in an amount to be proved and in any event no less than $150,000 as
 7
     set forth in 18 U.S.C.A. § 2255 (a).
8
            DATED this 20th day of August, 2018.
9

10                                 LEEMON + ROYER. PLLC

11

12

13                                 ____________________________________
                                   Mark Leemon, WSBA #5005
14

15

16

17

18

19

20
                                     CERTIFICATE OF SERVICE
21
             I hereby certify that on the 20th day of August, 2018, I electronically filed the foregoing
22
     with the clerk of the court using the CM/ECF system. Notice of this filing will be sent
23   electronically to counsel of record for other parties.

24                                 /s/ Mark Leemon WSBA #5005
                                   EMAIL: Leemon@leeroylaw.com
25

26

     COMPLAINT
      -4                                                  Leemon 2505 Second Avenue Suite 610 Seattle, WA 98121
                                                           + Royer    Phone 206 269-1100 Fax 206 269-7424
                                                             PLLC
